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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


    FEDEX CORPORATION,                                      )
                                                            )
                             Plaintiff,                     )
                                                            )
    v.                                                      )         Case No. 1:19-cv-01840 - JDB
                                                            )
    U.S. DEPARTMENT OF COMMERCE,                            )
    et al.,                                                 )
                                                            )
                             Defendants.                    )
                                                            )

                        MOTION FOR LEAVE TO AMEND COMPLAINT

         Pursuant to Federal Rules of Civil Procedure 15(a)(2) and 25, Plaintiff FedEx Corporation

(“FedEx Corp.”), by and through its undersigned counsel, moves the Court for leave to amend the

Complaint and case caption consistent with the attached Exhibit A.1 The proposed amendments

seek only to clarify the relationship between FedEx Corp. and the operating companies that support

it. They do not include additional counts, nor do they alter any substantive issues. For these and

the reasons set forth below, Plaintiff requests that the motion to amend be granted.

                                              BACKGROUND

         FedEx Corp. is a global business that provides its customers with transportation, e-

commerce, and business solutions. FedEx Corp. is not a transportation company or a common

carrier; instead, it is supported through several operating companies that function independently,

compete collectively and are managed collaboratively. Federal Express Corporation ("FedEx") is



1
  For the convenience of the Court and the Defendants, Plaintiff also attaches a “redline” version of the proposed
pleading showing the changes between the Complaint and the proposed Amended Complaint. See Exhibit B. The
proposed changes are on pages 1–3, 5, 13, 19 of the “redline” version.

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one such operating companies. FedEx is a common carrier that delivers time-sensitive, air-ground

express service to more than 220 countries and territories.

       FedEx Corp. filed the instant suit against Defendants on June 24, 2019. The Complaint

detailed the impact of Defendants' improper actions on both FedEx Corp. and its operating

companies, including the common carrier FedEx. For ease of reference, the Complaint used the

shorthand "FedEx" when referring to the only named FedEx-related entity, FedEx Corp. However,

this same shorthand was also used when referring to the common carrier services performed by

FedEx Corp.'s independent operating companies. This imprecise wording has the potential to

create a misleading impression that either FedEx Corp. is a transportation company itself or that

all FedEx-related entities are somehow integrated. Neither are true.

       For that reason, Plaintiff files the instant motion to amend the Complaint and caption to:

1) substitute FedEx Corp. for FedEx; and 2) insert additional clarification regarding the role that

the independent operating companies play. Defendants take no position on this motion.

                                           ANALYSIS

        Pursuant to Rule 15(a) of the Federal Rules of Civil Procedure, “a party may amend its

 pleading if the opposing party consents to the amendment. See also Parker v. John Moriarty &

 Assocs., 320 F.R.D. 95, 97 (D.D.C. 2017) (leave to amend “should be freely given unless there

 is a good reason to the contrary”). Further still, a party may amend as a matter of course at any

 time before a responsive pleading is served”. See Anderson v. USAA Cas. Ins., 218 F.R.D. 307,

 at 309–10 (D.D.C. 2003). Rule 15(a) “‘guarantees a plaintiff an absolute right to amend the

 complaint once at any time so long as the defendant has not served a responsive pleading and the

 court has not decided a motion to dismiss.’” Id.; see Fed. R. Civ. P. 15(a).

        Here, Plaintiff requests leave to amend the present Complaint because it can be read to


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 misstate the scope of FedEx Corp.'s work and/or the relationship between FedEx Corp. and its

 operating companies. This misreading can potentially cause confusion both in this case and in

 others regarding the specific identity of the "common carrier" at issue. Substituting the plaintiff

 and clarifying its interaction with FedEx Corp. will easily resolve any confusion.

         Amending the Complaint will not prejudice any of the defendants in this action. The

 changes to the Complaint are minimal—the only differences between the proposed Amended

 Complaint and the original Complaint are statements relating to FedEx Corp.’s global business.

 None of these changes will impact the pending Motion to Dismiss or change the status of this

 matter in any substantive way.

                                         CONCLUSION

       For the reasons set forth above, Plaintiff's motion for leave to file the Amended Complaint

should be granted. Plaintiff respectfully requests an order substituting FedEx as plaintiff, directing

that the case caption be amended accordingly, and directing the Amended Complaint to be filed.



 Dated: March 6, 2020
                                                   Respectfully Submitted,

                                           By:_    /s/ Maurice Bellan
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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2020 I caused a copy of the foregoing to be served by

ECF on all counsel who have appeared in this matter.



                                               /s/ Maurice Bellan
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